        Case 1:17-cr-00201-ABJ Document 193 Filed 02/22/18 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                    )
                                             )
              v.                             )
                                             )
 RICHARD W. GATES III,                       )            Crim. No. 17-201-2 (ABJ)
                                             )
              Defendant.                     )


    DEFENDANT RICHARD W. GATES III’S POSITION ON PENDING MOTION
                          TO WITHDRAW

      Richard W. Gates III, by and through counsel, hereby informs the Court that he does not

oppose the MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD filed by

Shanlon Wu, Walter Mack, and Annemarie McAvoy on February 1, 2018.



                                           Respectfully submitted,



                                            /s/Thomas C. Green
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